                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 Flectere LLC,                                                   Case No. ________________
           Plaintiff,                                            Patent Case
           v.                                                    Jury Trial Demanded
 Academy, Ltd.,

           Defendant.



                              COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Flectere LLC (“Flectere”), through its attorney, complains of Academy, Ltd.

(“Academy”), and alleges the following:

                                                   PARTIES

       1.         Plaintiff Flectere LLC is a corporation organized and existing under the laws of

Texas and maintains its principal place of business at 5068 West Plano Parkway, Suite 300,

Plano, TX 75093.

       2.         Defendant Academy, Ltd. is a corporation organized and existing under the laws

of Texas that maintains its principal place of business at 1800 N. Mason Rd., Katy, TX 77449.

                                                JURISDICTION

       3.         This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.         This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




                                                   1
        5.       This Court has personal jurisdiction over Academy because it has engaged in

systematic and continuous business activities in the Eastern District of Texas. Specifically,

Academy provides its full range of services to residents in this District. As described below,

Academy has committed acts of patent infringement giving rise to this action within this District.

                                                 VENUE

        6.       Venue is proper in this District under 28 U.S.C. § 1400(b) because Academy has

committed acts of patent infringement in this District and has a regular and established place of

business in this District. Specifically, Academy has retail stores in this location, including a store

located at 4045 N. Central Expwy., Plano, TX 75023. In addition, Flectere has suffered harm in

this district.

                                           PATENTS-IN-SUIT

        7.       Flectere is the assignee of all right, title and interest in United States Patent Nos.

6,272,506 (the “’506 Patent”), 6,415,284 (the “’284 Patent”) and 6,401,094 (the “’094 Patent”)

(collectively, the “Patents-in-Suit”), including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patents-in-

Suit. Accordingly, Flectere possesses the exclusive right and standing to prosecute the present

action for infringement of the Patents-in-Suit by Academy.

The ’506 Patent

        8.       On August 7, 2001, the United States Patent and Trademark Office issued the

’506 Patent. The ’506 Patent is titled “Computerized Verification Form Processing System and

Method.” The application leading to the ’506 Patent was filed on September 12, 1997. A true and

correct copy of the ’506 Patent is attached hereto as Exhibit A and incorporated herein by

reference.




                                                    2
       9.      The ’506 Patent is valid and enforceable.

       10.     The inventors recognized that there was a need for improving computerized form

processing systems that complied with current manufacturing procedures. Ex. A, 2:46-48.

       11.     The invention in the ’506 Patent provides an improved computerized form

processing system and method. Ex. A, 2:15-18.

       12.     To this end, the inventors recognized the importance of automatically keeping

track of changes and complying with government regulations. Ex. A, 4:48-52. (“Thus, system

20, FIG. 2 provides an improved computerized form processing System and method which

automatically keeps track of all changes made to data entries in a computerized form and

therefore complies with FDA requirements concerning data changes.”).

The ’284 Patent

       13.     On July 2, 2002, the United States Patent and Trademark Office issued the ’284

Patent. The ’284 Patent is titled “Intelligent Forms for Improved Automated Workflow

Processing.” The application leading to the ’284 Patent was filed on June 30, 1999. A true and

correct copy of the ’284 Patent is attached hereto as Exhibit B and incorporated herein by

reference.

       14.     The ’284 Patent is valid and enforceable.

       15.     The inventors recognized that there was a need for simplifying information for

workflow processing and reducing susceptibility of information entry errors. Ex. B, 1:36-40.

       16.     To this end, the inventors recognized the importance of verifying forms filled

with data and reducing error. Ex. B, 2:20-25. (“[I]ntelligent forms . . . intelligently pre-populated

using a business data base and includ[ing] logic for verification of properly supplied data to




                                                  3
minimize effort in filling in such forms and to minimize the risk of accepting invalid form data,

thus reducing the System's susceptibility to error.”).

The ’094 Patent

       17.      On June 4, 2002, the United States Patent and Trademark Office issued the ’094

Patent. The ’284 Patent is titled “System and Method for Presenting Information in Accordance

with User Preference.” The application leading to the ’094 Patent was filed on May 27, 1999. A

true and correct copy of the ’094 Patent is attached hereto as Exhibit C and incorporated herein

by reference.

       18.      The ’094 Patent is valid and enforceable.

       19.      The inventors recognized that there was a need for the dynamic formatting of

information to suit each user’s personality traits. Ex. C, 2:1-4.

       20.      To this end, the inventors recognized the importance of delivering information to

a user in a format selected by the user. Ex. C, 2:13-17. (“[T]he present invention is directed to a

system and method, usable with the World Wide Web or another communication technology, for

delivering information to a user in a format selected by the user.”).

                             COUNT I: INFRINGEMENT OF THE ’506 PATENT

       21.      Flectere incorporates the above paragraphs herein by reference.

       22.      Direct Infringement. Academy has been and continues to directly infringe at

least claim 11 of the ’506 Patent in this District and elsewhere in the United States by providing

a system, for example, Academy’s payment processing portal, that is a computerized form

processing system allowing users to fill in their contact information. See Figure 1, available at:

https://www.academy.com/shop/AYROrderShippingCmd?catalogId=10051&langId=-

1&storeId=10151&krypto=w43nz3hl%2BvpZNSHrxU%2FUBaS0ZzKisgnidKPrM9DXAx5




                                                  4
269WR2JHheYJ29ZlqWn6DT0MY681cb21ofVOmdxvs7qb5ldOtYalf%2FHh%2BK28XsA

e3U0rv2H50sLiuij3%2B9XTN9EZSYx4ti0%2Bzk33twvNzdkOQlTrBdvGnaWNv%2BDzvB

zphvxmiltS5GeCOupH18xNDdTHOgtdPORYUtllZQgwvOrfMdt1Rs%2FMuRJILD8o2qDk

KuWmj99kCzdCTiEXORV81cAJGY0nqf7OrAQ7JvXBDZw%3D%3D.




Figure 1. Academy’s payment processing portal allows users to fill in their contact information.

       23.     Academy’s payment processing portal has claim element 1(a): “a database for

storing at least one form including one or more fields.” For example, Academy’s payment

processing portal internally stores data entered into the form. See Figure 2.




                                                 5
6
  Figure 2. Academy’s payment processing portal internally stores data entered into the form.

       24.     Academy’s payment processing portal has claim element 1(b): “a viewer for

viewing a stored form.” For example, Academy’s payment processing portal allows users to see

the data they enter into the form. See Figure 2.

       25.     Academy’s payment processing portal has claim element 1(c): “a data entry

device for allowing a user to enter information into the fields of the form.” For example,

Academy’s payment processing portal allows users to enter in data, such as street address, into

the form. See Figure 3.




                                                   7
  Figure 3. Academy’s payment processing portal allows users to enter in data, such as street
                                  address, into the form.

       26.     Academy’s payment processing portal has claim element 1(d): “a monitoring

routine configured to actively monitor whether previously entered information in a field of the

form is being changed by the user.” For example, Academy’s payment processing portal

monitors whether previously entered information is being changed by users. See Figure 4.




                                                8
Figure 4. Academy’s payment processing portal monitors whether previously entered
                     information is being changed by users.




                                       9
       27.     Academy’s payment processing portal has claim element 1(e): “a field

modification verification routine configured to, on the viewer, prompt the user to sign off on any

such change.” For example, Academy’s payment processing portal will ask users whether they

want to use a suggested shipping address instead of the address they manually entered and is

configured to then prompt the user to sign off on a change to the address information. See Figure

5.




       Figure 5. Academy’s payment processing portal will ask users whether they want to use a
           suggested shipping address instead of the address they manually entered.




                                                10
        28.     Induced Infringement. Academy has also actively induced, and continues to

induce, the infringement of at least claim 11 of the ’506 Patent by actively inducing its

customers, including merchants and end-users to use Academy’s website in an infringing manner

as described above. Upon information and belief, Academy has specifically intended that its

customers use its website that infringe at least claim 11 of the ’506 Patent by, at a minimum,

providing access to support for, training and instructions for, its website to its customers to

enable them to infringe at least claim 11 of the ’506 Patent, as described above. Even where

performance of the steps required to infringe at least claim 11 of the ’506 Patent is accomplished

by Academy and Academy’s customer jointly, Academy’s actions have solely caused all of the

steps to be performed.

        29.     Flectere is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

        30.     Flectere will continue to be injured, and thereby caused irreparable harm, unless

and until this Court enters an injunction prohibiting further infringement.

                             COUNT II: INFRINGEMENT OF THE ’284 PATENT

        31.     Flectere incorporates the above paragraphs herein by reference.

        32.     Direct Infringement. Academy has been and continues to directly infringe at

least claim 1 of the ’284 Patent in this District and elsewhere in the United States by providing a

method, for example, Academy’s payment processing portal, for using a data-entry form to

receive data entered by a user allowing users to fill in their contact information. See Figure 6,

available at:

https://www.academy.com/shop/AYROrderShippingCmd?catalogId=10051&langId=-

1&storeId=10151&krypto=w43nz3hl%2BvpZNSHrxU%2FUBaS0ZzKisgnidKPrM9DXAx5




                                                 11
269WR2JHheYJ29ZlqWn6DT0MY681cb21ofVOmdxvs7qb5ldOtYalf%2FHh%2BK28XsA

e3U0rv2H50sLiuij3%2B9XTN9EZSYx4ti0%2Bzk33twvNzdkOQlTrBdvGnaWNv%2BDzvB

zphvxmiltS5GeCOupH18xNDdTHOgtdPORYUtllZQgwvOrfMdt1Rs%2FMuRJILD8o2qDk

KuWmj99kCzdCTiEXORV81cAJGY0nqf7OrAQ7JvXBDZw%3D%3D.




Figure 6. Academy’s payment processing portal allows users to manipulate a data-entry form to
      receive data entered by a user that allows users to fill in their contact information.

       33.     Academy’s payment processing portal performs the step of claim 1(a): “including

one or more fields in the data-entry form.” For example, Academy’s payment processing portal

has multiple data fields in the form the user can fill out. See Figure 7.




                                                  12
Figure 7. Academy’s payment processing portal has multiple data fields in the form the user can
                                         fill out.

       34.     Academy’s payment processing portal performs the step of claim 1(b): “for each

of the one or more fields, including verification logic which, when executed, determines whether

form data entered by the user is valid.” For example, Academy’s payment processing portal

notifies users whether their zip code is valid, and prefills a city and state dropdown menu. See

Figure 8.




                                                13
14
 Figure 8. Academy’s payment processing portal notifies users if they incorrectly enter their zip
                      code and prefills a city and state dropdown menu.

       35.     Academy’s payment processing portal performs the step of claim 1(c): “Sending

the data-entry form with the Verification logic through a computer network to a remote computer

for entry of the data by the user such that the remote computer receives the data entered by the

user and executes the verification logic.” For example, Academy’s payment processing portal

sends the data-entry form with the verification logic through a computer network (e.g. the

internet) to a remote computer (e.g. the user’s computer) for entry of the data by the user such

that the remote computer receives the data entered by the user and executes the verification logic.



                                                15
Entering a Zip code in the form adds fields including zip code, city and state (see Figure 9); and

the verification logic runs on the remote computer and determines whether the zip code, city, and

state combination is valid (see Figure 8).




  Figure 9. Academy’s payment processing portal allows users to enter in data, such as street
                             address, zip code, city and state.


                                                16
       36.     Induced Infringement. Academy has also actively induced, and continues to

induce, the infringement of at least claim 1 of the ’284 Patent by actively inducing its customers,

including merchants and end-users to use Academy’s website in an infringing manner as

described above. Upon information and belief, Academy has specifically intended that its

customers use its website that infringe at least claim 1 of the ’284 Patent by, at a minimum,

providing access to support for, training and instructions for, its website to its customers to

enable them to infringe at least claim 1 of the ’284 Patent, as described above. Even where

performance of the steps required to infringe at least claim 1 of the ’284 Patent is accomplished

by Academy and Academy’s customer jointly, Academy’s actions have solely caused all of the

steps to be performed.

       37.     Flectere is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

       38.     Flectere will continue to be injured, and thereby caused irreparable harm, unless

and until this Court enters an injunction prohibiting further infringement.

                            COUNT III: INFRINGEMENT OF THE ’094 PATENT

       39.     Flectere incorporates the above paragraphs herein by reference.

       40.     Direct Infringement. Academy has been and continues to directly infringe at

least claim 1 of the ’094 Patent in this District and elsewhere in the United States by providing a

system, for example, for presenting information to a user on a workstation operated by the user

in accordance with a preference specified by the user through the workstation. See Figure 1,

available at: www.academy.com.




                                                 17
Figure 1. Academy’s payment processing portal presents information to a user on a workstation
    operated by the user in accordance with a preference specified by the user through the
                                        workstation.

       41.     Academy’s payment processing portal has claim element 1(a): “a database server

for storing the information.” For example, Academy’s payment processing portal has a MSQL

server to store the information. See Figure 2, available at: https://docs.microsoft.com/en-

us/previous-versions/msp-n-p/ee658120%28v%3dpandp.10%29.




                                                18
  Figure 2. Academy’s payment processing portal has a MSQL server to store the information.

       42.     Academy’s payment processing portal has claim element 1(b): “an application

server, in communication with the database server and the workstation, for receiving from the

workstation a request for the information and an indication of the preference which has been

specified by the user through the workstation, retrieving the information from the database

server, dynamically formatting the information in accordance with the preference to form

custom-formatted information and sending the custom-formatted information to the

workstation.” For example, a server receives a request for the information and an indication of

the preference (e.g. Request desktop site) which has been specified by the user through the

workstation. See Figure 3, available at: https://docs.microsoft.com/en-us/previous-versions/msp-

n-p/ee658120%28v%3dpandp.10%29.




                                               19
                                           Figure 3.

       43.    The accused instrumentality also retrieves the information from the database

server, dynamically formats the information in accordance with the preference to form custom

formatted information and sending the custom-formatted information to the workstation. See

Figure 4, available at: www.academy.com.




                                              20
21
    Figure 4. Academy’s payment processing portal dynamically formats the information in
  accordance with the preference to form custom formatted information and sends the custom-
                           formatted information to the workstation.

       44.     Induced Infringement. Academy has also actively induced, and continues to

induce, the infringement of at least claim 1 of the ’094 Patent by actively inducing its customers,

including merchants and end-users to use Academy’s website in an infringing manner as

described above. Upon information and belief, Academy has specifically intended that its

customers use its website that infringe at least claim 1 of the ’094 Patent by, at a minimum,

providing access to support for, training and instructions for, its website to its customers to

enable them to infringe at least claim 1 of the ’094 Patent, as described above. Even where

performance of the steps required to infringe at least claim 1 of the ’094 Patent is accomplished




                                                 22
by Academy and Academy’s customer jointly, Academy’s actions have solely caused all of the

steps to be performed.

        45.     Flectere is entitled to recover damages adequate to compensate it for such

infringement in an amount no less than a reasonable royalty under 35 U.S.C. § 284.

        46.     Flectere will continue to be injured, and thereby caused irreparable harm, unless

and until this Court enters an injunction prohibiting further infringement.

                                                 JURY DEMAND

        47.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Flectere respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

WHEREFORE, Flectere asks this Court to enter judgment against Academy, granting the

following relief:

       A.      A declaration that Academy has infringed the Patents-in-Suit;

       B.      An award of damages to compensate Flectere for Academy’s direct infringement

               of the Patents-in-Suit;

       C.      An order that Academy and its officers, directors, agents, servants, employees,

               successors, assigns, and all persons in active concert or participation with them, be

               preliminarily and permanently enjoined from infringing the Patents-in-Suit under

               35 U.S.C. § 283;

       D.      An award of damages, including trebling of all damages, sufficient to remedy

               Academy’s willful infringement of the Patents-in-Suit under 35 U.S.C. § 284;

       E.      A declaration that this case is exceptional, and an award to Flectere of reasonable

               attorneys’ fees, expenses and costs under 35 U.S.C. § 285;




                                                     23
    F.     An award of prejudgment and post-judgment interest; and

    G.     Such other relief as this Court or jury may deem proper and just.


Dated: May 24, 2018                            Respectfully submitted,

                                               /s/ Isaac Rabicoff

                                               Isaac P. Rabicoff
                                               Rabicoff Law LLC
                                               73 W Monroe St
                                               Chicago, IL 60603
                                               (773) 669-4590
                                               isaac@rabilaw.com

                                               Kenneth Matuszewski
                                               (708) 870-5803
                                               kenneth@rabilaw.com

                                               Counsel for Plaintiff




                                            24
